     Case: 3:02-cv-00048-bbc          Document #: 347         Filed: 01/27/12      Page 1 of 3



                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

NEIL GAIMAN, and
MARVELS AND MIRACLES, LLC,

              Plaintiffs,

      v.                                                      Case No.: 02-CV-00048-bbc

TODD MCFARLANE,
TODD MCFARLANE PRODUCTIONS,
INC., TMP INTERNATIONAL, INC.,
MCFARLANE WORLDWIDE, INC., and
IMAGE COMICS, INC.,
              Defendants.


                               JOINT MOTION OF ALL PARTIES
                                      FOR ENTRY OF
                            [PROPOSED] FINAL JUDGMENT ORDER



       Plaintiffs Neil Gaiman and Marvels and Miracles LLC, and Defendants Todd McFarlane,

Todd McFarlane Productions, Inc., TMP International, Inc., McFarlane Worldwide, Inc. and

Image Comics, Inc., being all of the parties to this litigation (together, the “Parties”), respectfully

jointly move this Honorable Court for Entry of a Final Judgment Order, and further move that

the status conference currently scheduled for February 8, 2012 be removed from the Court's

calendar.

       The Parties hereby inform the Court that they have resolved all matters between them by

a fully executed Settlement Agreement. By this motion, the Parties jointly request that the Court

enter a Final Judgment in this matter:

        A.      in favor of plaintiffs Neil Gaiman and Marvels and Miracles, LLC and against

       Defendants Todd McFarlane, Todd McFarlane Productions, Inc., TMP International, Inc.,

       and McFarlane Worldwide, Inc., declaring that Plaintiff Neil Gaiman is a joint, fifty



                                                 -1-
      Case: 3:02-cv-00048-bbc          Document #: 347        Filed: 01/27/12      Page 2 of 3



        percent (50%) owner of the copyrights to the publications Spawn issues 9 and 26 and

        Angela issues 1, 2 and 3 and the contents of those publications, and finding that the

        Parties have resolved the respective future rights and obligations with respect thereto

        pursuant to the terms of their Settlement Agreement;

        B.       dismissing all remaining claims and counterclaims in this matter with prejudice,

        the Parties having waived in their Settlement Agreement any right of appeal in respect of

        any such claims or counterclaims; and

        C.       providing that each of the Parties is to bear his/its respective attorneys’ fees and

        costs.

 In furtherance of the foregoing, the Parties jointly request that the Court enter the [PROPOSED]

 “ORDER FOR ENTRY OF FINAL JUDGMENT” appended hereto, or alternatively, advise

 counsel for the Parties in the event that the Parties’ draft of that Proposed Order is not acceptable

 to the Court.


        Dated this 27th day of January, 2012.


                                                   s/Jeffrey A. Simmons
                                                   Allen A. Arntsen, WI Bar No. 1015038
                                                   Jeffrey A. Simmons, WI Bar No. 1031984

Of Counsel:                                        FOLEY & LARDNER LLP
Kenneth F. Levin                                   150 East Gilman Street
Kenneth F. Levin & Associates, Chtd.               Madison, WI 53703-2808
3100 Dundee Rd., Ste. 307                          Tel: (608) 257-5035
Northbrook, Illinois 60062-2459                    Fax: (608) 258-4258
Tel: (312) 827-9000                                aarntsen@foley.com
KenFLevin@gmail.com                                jsimmons@foley.com

                                                   Attorneys for Plaintiffs Neil Gaiman and Marvels
                                                   and Miracles, LLC




                                                  -2-
Case: 3:02-cv-00048-bbc   Document #: 347    Filed: 01/27/12    Page 3 of 3



                                   s/J. Alex Grimsley
                                   J. Alex Grimsley, Esq.
                                   BRYAN CAVE LLP
                                   2 N Central Avenue # 2200
                                   Phoenix, AZ 85004-0935
                                   Tel: (602) 364-7117
                                   jagrimsley@bryancave.com

                                   Todd G. Smith
                                   GODFREY & KAHN
                                   One East Main Street,
                                   Suite 500
                                   Madison, WI 53701-2719
                                   Tel: (608) 284-2653
                                   tsmith@gklaw.com

                                   Attorneys for Defendants Todd McFarlane,
                                   Todd McFarlane Productions, Inc., TMP
                                   International, Inc., and McFarlane Worldwide,
                                   Inc.



                                   s/R. Scott Feldmann
                                   R. Scott Feldmann
                                   BAKER & HOSTETLER LLP
                                   600 Anton Boulevard
                                   Suite 900
                                   Costa Mesa, CA 92626-7221
                                   Tel: (714) 966-8862

                                   Attorney for Defendant Image Comics, Inc.




                                  -3-
